                          Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 1 of 17

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Epic Companies, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA EPIC Offshore Specialty, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1080 Eldridge Parkway, Suite 1300
                                  Houston, TX 77077
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.epiccompanies.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 2 of 17
Debtor    Epic Companies, LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
                                                            USBC - Eastern District
     If more than 2 cases, attach a                         of Louisiana (New
     separate list.                              District   Orleans)                      When     8/02/19                    Case number   19-12086
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment 1                                              Relationship
                                                 District   Southern-Houston              When                            Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 3 of 17
Debtor   Epic Companies, LLC                                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                         Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 4 of 17
Debtor    Epic Companies, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      08/26/19
                                                  MM / DD / YYYY


                             X                                                                            Jeffrey T. Varsalone
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ John F. Higgins                                                         Date   08/26/19
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 John F. Higgins
                                 Printed name

                                 Porter Hedges LLP
                                 Firm name

                                 1000 Main Street, 36th Floor
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (713) 226-6000                Email address      jhiggins@porterhedges.com

                                 09597500 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
            Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 5 of 17




                                      ATTACHMENT 1

                                 LIST OF RELATED CASES


                                   NAME                     TAX ID NO.
             Epic Alabama Steel, LLC                        XX-XXXXXXX
             Epic Applied Technologies, LLC                 XX-XXXXXXX
             Epic Companies, LLC                            XX-XXXXXXX
             Epic Diving & Marine Services, LLC             XX-XXXXXXX
             Epic San Francisco Shipyard, LLC               XX-XXXXXXX
             Epic Specialty Services, LLC                   XX-XXXXXXX
             Zuma Rock Energy Services, LLC                 XX-XXXXXXX




8877507v1
            Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 6 of 17



                                   EPIC COMPANIES,LLC

                           Unanimous Written Consent ofthe Members

                                         August 21, 2019

       The undersigned, being all of the members (each, a "Member" and collectively, the
"Members") of EPIC Companies, LLC, a Delaware limited liability company (the "Company"),
hereby approve, consent to, and adopt the following recitals and resolutions, and the actions
authorized in such recitals and resolutions, as the act and deed of the Members by written
consent as of the date set forth above.

A uthorized Signatory

      RESOLVED, that for purposes of these recitals and resolutions the term "Authorized
Signatory" shall mean either Thomas M. Clarke or David A. Wiley.

Filing ofBankruptcy Petition

        WHEREAS, pursuant to that certain Operating Agreement of the Company dated
effective as of February 5, 2018, the Members have exclusive and complete authority and
discretion to cause or allow the Company to file a voluntary petition for bankruptcy;

       WHEREAS, the Members, acting pursuant to the laws of the State of Delaware, have
considered the financial and operational aspects of the Company's business;

        WHEREAS,the Members have reviewed the historical performance of the Company and
the current and long-term liabilities of the Company; and

       WHEREAS, the Members have analyzed each of the strategic alternatives available to
the Company.

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Members, it is
advisable, desirable, and in the best interests of the Company, its creditors, employees, and other
interested parties that a petition be filed by the Company seeking relief under the provisions of
Chapter 11 of Title 11 of the United States Code (the "Bankruptcy Code");

        RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
empowered, and directed to execute, verify, and file all petitions, schedules, lists, and other
papers or documents, and to take and perform any and all further actions and steps that such
Authorized Signatory deems necessary or appropriate and/or advisable, desirable, and in the best
interests of the Company in connection with the Company's Chapter 11 case, with a view to the
successful prosecution of such case;

       RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
empowered, and directed to retain the law firm of Porter Hedges LLP ("PH") as bankruptcy
counsel to represent and assist the Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance the Company's rights in connection therewith,


8086190v4
         Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 7 of 17




 and such Authorized Signatory be, and hereby is, authorized, empowered, and directed to
 execute appropriate retention agreements, pay appropriate retainers prior to and immediately
 upon the filing of the Company's Chapter 11 case, and to cause to be filed an appropriate
 application for authority to retain the services of PH;

         RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
 empowered, and directed to retain S3 Advisors, LLC, a Massachusetts limited liability company
("G2"), to provide, among other things, a Chief Restructuring Officer ("CRO") and through the
 CRO provide related restructuring services, and such Authorized Signatory be, and hereby is,
 authorized, empowered, and directed to execute appropriate retention agreements, pay
 appropriate retainers prior to and immediately upon the filing of the Company's Chapter 11 case,
 and to cause to be filed an appropriate application for authority to retain the services of G2;

         RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
 empowered, and directed to employ any other professionals necessary or appropriate and/or
 advisable, desirable, and in the best interests of the Company to assist the Company in carrying
 out its duties under the Bankruptcy Code; and in connection therewith, such Authorized
 Signatory be, and hereby is, authorized, empowered, and directed to execute appropriate
 retention agreements, pay appropriate retainers prior to, or immediately upon the filing of the
 Company's Chapter 11 case and cause to be filed appropriate applications with the bankruptcy
 court for authority to retain the services of any other professionals, as necessary, and on such
 terms as are deemed necessary or appropriate and/or advisable, desirable, and in the best interests
 ofthe Company;

         RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
empowered, and directed to obtain post-petition financing according to terms which may be
negotiated by the management of the Company, including under debtor-in-possession credit
facilities or the use of cash collateral, and to enter into any guaranties and to pledge and grant
liens on its assets as may be contemplated by or required under the terms of such post-petition
financing or cash collateral agreement; and in connection therewith, such Authorized Signatory
be, and hereby is, authorized and directed to execute appropriate loan agreements, cash collateral
agreements, and related ancillary documents;

          RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
 empowered, and directed, in the name and on behalf of the Company, to take any and all actions,
 to execute, deliver, certify, file, and/or record and perform any and all documents, agreements,
 instruments, motions, affidavits, applications for approvals or rulings of governmental or
 regulatory authorities or certificates, and to take any and all actions and steps deemed by such
 Authorized Signatory to be necessary or appropriate and/or advisable, desirable, and in the best
 interests of the Company to carry out the purpose and intent of each of the foregoing resolutions
 and to effectuate a successful Chapter 11 case, including, but not limited to, the development,
 filing, and prosecution to confirmation of a Chapter 11 plan and related disclosure statement; and

        RESOLVED FURTHER, that any and all actions heretofore taken by any Authorized
 Signatory or any Member in the name and on behalf of the Company in furtherance of the
 purpose and intent of any or all of the foregoing resolutions be, and each hereby is, approved,
 consented to, and adopted in all respects as the act and deed of the Company.

                                                  2
        Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 8 of 17




Sale Transactions

         RESOLVED FURTHER, that the Company be, and hereby is, authorized (a) to solicit
bids for the purchase of the Company's assets and the assumption of certain of the Company's
liabilities, to determine the highest and best offer received for such assets or liabilities which
constitutes a fair and adequate purchase price, and to accept qualified bids for such assets or
liabilities,(b) to enter into one or more purchase agreements to sell all or substantially all of the
Company's assets ("Purchase Agreement(s)") and each of the ancillary documents to be entered
into in connection therewith, including, but not limited to, any transition services agreements,
intellectual property licensing agreements, bills of sale, lease assignments, officer's certificates,
and any other document, instruments, or agreements to be executed in connection with the
Purchase Agreement(s) (collectively, "Transaction Documents"), and (c) to enter into and
perform the transactions and obligations contemplated by any Purchase Agreement(s) and any
Transaction Documents;

        RESOLVED FURTHER, that the Company has negotiated an asset purchase agreement
with White Oak Global Advisors, LLC, a Delaware limited liability company ("White Oak"), for
the sale of substantially all of the Company's assets, except for certain excluded assets, and the
assumption of certain of the Company's liabilities in the Company's Chapter 11 case pursuant to
Section 363 of the Bankruptcy Code which the Members, after receiving advice from its
professional advisors, has determined offers a fair and adequate purchase price for the assets
proposed to be purchase by White Oak and, therefore, should be pursued by the Company;

        RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to prepare, negotiate,
executed, deliver, and perform a Purchase Agreement and Transactions Documents with White
Oak, on substantially the terms and conditions presented to the Members, together with such
changes or additions thereto as such Authorized Signatory shall approve, such approval to be
conclusively evidenced by such execution and delivery, and upon such execution and delivery of
all of the foregoing documents, instruments, and agreements, and the execution and delivery
conditions set forth therein; and

        RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
empowered, and directed, in the name and on behalf of the Company, to prepare, negotiate,
executed, deliver, and perform Purchase Agreements and Transaction Documents with other
potential purchasers of the Company's assets (including with respect to assets not sold to White
Oak), on such terms and conditions as determined by such Authorized Signatory, together with
such changes or additions thereto as such Authorized Signatory shall approve, such approval to
be conclusively evidenced by such execution and delivery of such Purchase Agreements and
Transaction Documents, and upon such execution and delivery of all of the foregoing
documents, instruments, and agreements, and the execution and delivery thereof by all other
parties or signatories thereto, the Company shall be bound by the terms and conditions set forth
therein.




                                                 3
        Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 9 of 17



General

       RESOLVED FURTHER, that all acts and deeds heretofore done or actions taken by any
Member, any Authorized Signatory, or any agent of the Company, in the name and on behalf of
the Company, in entering into, executing, acknowledging, or attesting any arrangements,
agreements, instruments, or documents in carrying out the terms and intentions of the foregoing
preambles and resolutions be, and each hereby is, approved, consented to, and adopted in all
respects as the acts and deeds of the Company;

       RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
directed, and empowered, in the name and on behalf of the Company,to take further action as he
may deem necessary or appropriate and/or advisable, desirable, and in the best interests of the
Company in connection with the above-referenced transactions, including, but not limited to,
execution of any document necessary to complete the above-referenced transactions;

       RESOLVED FURTHER, that each Authorized Signatory be, and hereby is, authorized,
directed, and empowered, in the name and on behalf of the Company, to execute and deliver or
cause to be executed and delivered any and all other agreements, certificates, reports,
applications, notices, letters, or other documents (including, but not limited to, all instruments
contemplated by any of the above documents), and to do or cause to be done any and all further
acts as such Authorized Signatory shall deem necessary or appropriate and/or advisable,
desirable, and in the best interests of the Company to comply with the applicable laws and
regulations of any jurisdiction (domestic or foreign) or otherwise permit the Company to fully
and promptly carry out the purposes and intent of the foregoing preambles and resolutions and to
consummate the transactions contemplated thereby, and any such action taken or any agreement,
amendment, certificate, report, application, notice, letter, or other document executed and
delivered by them or any of them in connection with any such action shall be conclusive
evidence of their or his authority to take, execute, and deliver the same; and

       RESOLVED FURTHER, that this written consent may be executed and delivered by
facsimile, portable document format (.pdf), and other electronic imaging means, and in any
number of counterparts with the same effect as if all parties hereto had signed the same
document. Facsimile, PDF, and other electronic copies of manually signed originals shall have
the same effect as manually-signed originals and shall be binding on all parties hereto. All
counterparts shall be construed together to constitute one and the same instrument.


                                   [Signature pagefollows]




                                                4
   Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 10 of 17




        IN WITNESS WHEREOF,the undersigned hereby execute this written consent
                   date first set forth above.
effective as ofthe



                                           MEMBERS:


                                           ORINOCO NATURAL RESOURCES,LLC
                                           a Virginia limited liability company

                                                                   ■
                                           By:                  '
                                           Nam Thomas M. Clarke, on behalf of himself and
                                           Ana M. Clarke, husband and wife,jointly as tenants
                                           by the entire

                                           By:           etc
                                           Name: Ana M. Clarke, on behalf of herself and
                                           Thomas M. Clarke, husband and wife, jointly as
                                           tenants by the entirety


                                           OAKRIDGE ENERGY PARTNERS LLC
                                           a Delaware limited liability company


                                            By:
                                            Name: David A. Wiley
                                            Title: Manager




                                                                                       LLC]
       [SIGNATURE PAGE TO UNANIMOUS WRITTEN CONSENT OF THE MEMBERS — EPIC COMPANIES,
    Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 11 of 17




       IN WITNESS WHE OF,the undersigned hereby execute this written consent
effective as of the date first set forth above.



                                         MEMBERS:


                                         ORINOCO NATURAL RESOURCES,LLC
                                         a Virginia limited liability company


                                        By:
                                        Name: Thomas M. Clarke, on behalf of himself and
                                        Ana M. Clarke, husband and wife,jointly as tenants
                                        by the entirety

                                        By:
                                        Name: Ana M. Clarke, on behalf of herself and
                                        Thomas M. Clarke, husband and wife, jointly as
                                        tenants by the entirety


                                         OAKRIDGE ENERGY PARTNERS LLC
                                         a Delaware limited ility company


                                         By:
                                         Name: David A. Wiley
                                         Title: Manager




     [SIGNATURE PAGE TO UNANIMOUS WRITTEN CONSENT OF THE MEMBERS-EPIC COMPANIES,LLC]
                         Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 12 of 17

                                                               United States Bankruptcy Court
                                                                      Southern District of Texas
 In re      Epic Companies, LLC                                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Oakridge Energy Partners LLC                                                                                                    Owns 50% of Membership
 1080 Eldridge Parkway, Suite 1300                                                                                               Interests
 Houston, TX 77077

 Orinoco Natural Resources, LLC                                                                                                   Owns 50% of Membership
 1080 Eldridge Parkway, Suite 1300                                                                                               Interests
 Houston, TX 77077


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date 08/26/19                                                               Signature
                                                                                            Jeffrey T. Varsalone

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                         Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 13 of 17




                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Epic Companies, LLC                                                                          Case No.
                                                                                  Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Epic Companies, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Oakridge Energy Partners LLC
 1080 Eldridge Parkway, Suite 1300
 Houston, TX 77077
 Orinoco Natural Resources, LLC
 1080 Eldridge Parkway, Suite 1300
 Houston, TX 77077




 None [Check if applicable]




 August 26, 2019                                                     /s/ John F. Higgins
 Date                                                                John F. Higgins
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Epic Companies, LLC
                                                                     Porter Hedges LLP
                                                                     1000 Main Street, 36th Floor
                                                                     Houston, TX 77002
                                                                     (713) 226-6000 Fax:(713) 228-1331
                                                                     jhiggins@porterhedges.com




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
                            Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 14 of 17


      Fill in this information to Identify the case:

      Debtor Name: Epic Companies, LLC
                                                                                                                                              Check if this is an
      United States Bankruptcy Court for the:          District of Southern District of Texas                                                 amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if        Deduction for      Unsecured claim
                                                                                                                    partially secured      value of
                                                                                                                                           collateral or
                                                                                                                                           setoff

  1       DAN BUNKERING                        CONTACT: JIM JENSEN            TRADE PAYABLE                                                      Unknown          $2,231,958.01
          840 GESSNER SUITE 210                PHONE: (281) 833-5801
          HOUSTON, TX 77024                    ACCOUNTSAMERICA@DAN-
                                               BUNKERING.COM
  2       MCGRIFF, SEIBELS & WILLIAMS OF       CONTACT: SOILA STROOT          TRADE PAYABLE                                                                       $1,163,809.39
          TEXAS, INC.                          PHONE: (713) 940-6585
          LOCKBOX DRAWER 456                   SSTROOT@MCGRIFF.COM
          PO BOX 11407
          BIRMINGHAM, AL 35246-0456
  3       GOLIATH OFFSHORE HOLDINGS PTE, CONTACT: JOSEPH E. LEE, III          TRADE PAYABLE                                                                       $1,141,349.00
          LTD.                           PHONE: (504) 584-9251
          C/O PHELPS DUNBAR LLP          JOSH.LEE@PHELPS.COM
          365 CANAL STREET, SUITE 2000
          NEW ORLEANS, LA 70130
  4       TAYLORS INTERNATIONAL SERVICES,      CONTACT: TINA ZELLER           TRADE PAYABLE                                                      Unknown            $913,178.58
          INC.                                 PHONE: (337) 234-5558
          PO BOX 81154                         TZELLER@TAYLORS-
          LAFAYETTE, LA 70598                  INTERNATIONAL.COM
  5       FUGRO USA MARINE, INC.               CONTACT: JAME FORT             TRADE PAYABLE                                                      Unknown            $695,871.81
          P.O. BOX 301114                      PHONE: (337) 237-1300
          DALLAS, TX 75303-1114                J.FORT@FUGRO.COM
  6       HEALTH CARE SERVICES                 CONTACT: STEFANIE BRASIER TRADE PAYABLE                                                                              $491,649.06
          CORPORATION DBA BLUE CROSS           PHONE: (972) 766-0194
          BLUE SHIELD OF TX                    STEFANIE_BRASIER@BCBSTX.
          300 EAST RANDOLPH STREET             COM
          CHICAGO, IL 60601




Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                          Page 1
                         Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 15 of 17
  Debtor: Epic Companies, LLC                                                                Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  7     ERNST & YOUNG, LLP                 CONTACT: BETHANY REED     TRADE PAYABLE                                                                         $401,029.36
        PNC BANK C/O ERNST & YOUNG US      PHONE: (832) 765-1305
        LLP                                BETHANY.REED@EY.COM
        3712 SOLUTIONS CENTER
        CHICAGO, IL 60677-3007
  8     NEW INDUSTRIES LLC                 CONTACT: CHAD PARADEE TRADE PAYABLE                                                                             $353,454.00
        P.O. BOX 2176                      PHONE: (985) 385-6789
        MORGAN CITY, LA 70381-2176         CHAD.PARADEE@NEWINDUS
                                           TRIES.COM
  9     CROSBY TUGS, INC.                  CONTACT: TAMI BREAUX      TRADE PAYABLE                                                                         $328,797.71
        P.O. BOX 279                       PHONE: (985) 632-7575
        GOLDEN MEADOW, LA 70357            TBREAUX@CROSBYTUGS.CO
                                           M
  10    CENTRAL BOAT RENTALS, INC.         CONTACT: AMBER            TRADE PAYABLE                                                                         $321,113.28
        DEPT. 0422                         TERREBONNE
        P.O. BOX 120422                    PHONE: (985) 384-8200
        DALLAS, TX 75312-0422              AMBER@CENTRALBOAT.CO
                                           M
  11    UNITED VISION LOGISTICS            CONTACT: BENTLEY BURGESS TRADE PAYABLE                                                                          $311,223.41
        4021 AMBASSADOR CAFFERY PKWY       PHONE: (713) 350-5200
        SUITE 200 BLDG A                   BENTLEY.BURGESS@UVLOGIS
        LAFAYETTE, LA 70503                TICS.COM


  12    OFFSHORE TECHNICAL SOLUTIONS       CONTACT: RICHARD BURGO TRADE PAYABLE                                                                            $277,400.00
        690 SOUTH HOLLYWOOD ROAD           PHONE: (985) 855-7780
        HOUMA, LA 70360                    RICHARD@OFFSHORETECHNI
                                           CAL.COM
  13    DOWNHOLE SOLUTIONS                 CONTACT: BURT PEREIRA TRADE PAYABLE                                                                             $264,343.00
        P.O. BOX 52613                     PHONE: (985) 774-1409
        TULSA, OK 74152                    BURT@DOWNHOLESOLUTIO
                                           NS.NET
  14    VERSABAR                           CONTACT: CONNIE LEBLANC   TRADE PAYABLE                                                                         $263,342.26
        11349 FM 529 ROAD                  PHONE: (713) 939-3085
        HOUSTON, TX 77041                  CLEBLANC@VBAR.COM
  15    OCEANWIDE INTERNATIONAL            CONTACT: CHUCK CARLISLE   TRADE PAYABLE                                                      Unknown            $262,865.76
        P.O. BOX 59607                     PHONE: (985) 446-1313
        4011 LIMASSOL                      CHUCK@OCEANWIDEAMERI
        CYPRUS                             CA.COM
  16    PROSERV - MARINE TECH              CONTACT: TIM CROCHET   TRADE PAYABLE                                                                            $262,608.17
        P.O. BOX 204311                    PHONE: (985) 746-1579
        DALLAS, TX 75320-4311              TIM.CROCHET@PROSERV.CO
                                           M
  17    BILL POOLE VALVES & CONTROLS,      CONTACT: BARRY POOLE      TRADE PAYABLE                                                                         $235,675.44
        INC.                               PHONE: (337) 359-7081
        710 W ADMIRAL DOYLE DRIVE          AR@BILLPOOLE.COM
        NEW IBERIA, LA 70560
  18    MCALLISTER TOWING OF NEW           CONTACT: ALESSANDRA    TRADE PAYABLE                                                                            $235,500.00
        YORK, LLC                          TEBALDI
        17 BATTERY PLACE, SUITE 1200       PHONE: (212) 269-3200
        NEW YORK, NY 10004                 ATEBALDI@MCALLISTERTOW
                                           ING.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 2
                         Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 16 of 17
  Debtor: Epic Companies, LLC                                                                  Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if        Deduction for      Unsecured claim
                                                                                                             partially secured      value of
                                                                                                                                    collateral or
                                                                                                                                    setoff

  19    BORDELON MARINE, INC.              CONTACT: ANGELA             TRADE PAYABLE                                                                         $231,439.61
        PO BOX 619                         GAUTREAUX
        LOCKPORT, LA 70374                 PHONE: (985) 532-3817
                                           ANGELA@BORDELONMARIN
                                           E.COM
  20    MULE SERVICES, LLC                 CONTACT: JOE STEGEMAN TRADE PAYABLE                                                                               $224,393.96
        1361 DUCHAMP ROAD                  PHONE: (337) 591-3470
        ST. MARTINVILLE, LA 70582          JSTEGEMAN@MULESERV.CO
                                           M
  21    BOXLEY GROUP, LLC                  CONTACT: KRYSTAL BYERS  TRADE PAYABLE                                                                             $194,277.50
        770 S POST OAK LN, #300            PHONE: (832) 274-8903
        HOUSTON, TX 77056                  KRYSTAL.BYERS@BOXLEYGRO
                                           UP.COM
  22    CASHMAN EQUIPMENT CORP.            CONTACT: PAUL PEREZ         TRADE PAYABLE                                                                         $182,579.30
        41 BROOKS DRIVE, SUITE 1005        PHONE: (781) 535-6222
        BRAINTREE, MA 02184                PPEREZ@4BARGES.COM
  23    MCDONOUGH MARINE SERVICE           CONTACT: JOHN STEVENSON TRADE PAYABLE                                                                             $180,389.00
        PO BOX 919227                      PHONE: (281) 733-4343
        DALLAS, TX 75391-9227              JSTEVENSON@MCDONOUGH
                                           MARINE.COM


  24    PRAXAIR INC.                       CONTACT: JOE SHINE          TRADE PAYABLE                                                                         $178,498.72
        PO BOX 417518                      PHONE: (203) 482-0227
        BOSTON, MA 02241-7518              JOE_SHINE@PRAXAIR.COM
  25    SOFTCHOICE CORPORATION           CONTACT: JOSH BREWER          TRADE PAYABLE                                                                         $176,400.54
        ATTN: FINANCE DEPARTMENT         PHONE: (319) 560-4859
        314 W. SUPERIOR STREET SUITE 402
        CHICAGO, IL 60610-3538


  26    ENTIER USA, INC.                   CONTACT: COLIN HENRY        TRADE PAYABLE                                                      Unknown            $169,783.70
        800 TOWN AND COUNTRY               PHONE: 44 (0) 7912 732907
        BOULEVARD                          COLIN.HENRY@ENTIER-
        SUITE 300                          SERVICES.COM
        HOUSTON, TX 77024
  27    RAPIDLOGGER SYSTEMS LLC            CONTACT: TED BECKHAM        TRADE PAYABLE                                                                         $159,444.50
        10700 CORPORATE DRIVE              PHONE: (281) 936-8611
        SUITE 108                          TED@TDBECKHAM.COM
        STAFFORD, TX 77477
  28    CYPRESS PROCESS AND PIPELINE       CONTACT: TROY THERIOT   TRADE PAYABLE                                                          Unknown            $154,603.80
        SERVICES, LLC                      PHONE: (337) 451-4440
        5727 S.LEWIS AVE., SUITE 300       TROY.THERIOT@CYPRESSPPS
        TULSA, OK 74105                    .COM
  29    ARC CONTROLS, INC.                 CONTACT: LUCIAN LOTT        TRADE PAYABLE                                                                         $153,101.59
        4875 TUFTS ROAD                    PHONE: (251) 666-2165
        MOBILE, AL 36619                   LUCIAN@ARCCONTROLS.CO
                                           M
  30    V.SHIPS LIMITED                    CONTACT: ALEX HALAVINS      TRADE PAYABLE                                                      Unknown            $142,779.00
        V.SHIPS HOUSE                      PHONE: 357-25848400
        13, OMONIA AVENUE                  ALEX.HALAVINS@VSHIPS.CO
        3312-LIMMASSOL, UK                 M




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                     Page 3
            Case 19-34752 Document 1 Filed in TXSB on 08/26/19 Page 17 of 17


                                            DECLARATION

         I, Jeffrey T. Varsalone, the Debtors’ Chief Restructuring Officer, declare under penalty of perjury
that I have read the foregoing Consolidated List of Creditors Holding Thirty Largest Unsecured Claims
and that it is true and correct to the best of my knowledge, information and belief.

            Dated: August 26, 2019.


                                                                  By:
                                                                          Jeffrey T. Varsalone
                                                                          Chief Restructuring Officer




                                                     1
8810860v1
